19-10096 - #8 File 01/28/19 Enter 01/28/19 12:24:05 Main Document Pg 1 of 8
19-10096 - #8 File 01/28/19 Enter 01/28/19 12:24:05 Main Document Pg 2 of 8
19-10096 - #8 File 01/28/19 Enter 01/28/19 12:24:05 Main Document Pg 3 of 8
19-10096 - #8 File 01/28/19 Enter 01/28/19 12:24:05 Main Document Pg 4 of 8
19-10096 - #8 File 01/28/19 Enter 01/28/19 12:24:05 Main Document Pg 5 of 8
19-10096 - #8 File 01/28/19 Enter 01/28/19 12:24:05 Main Document Pg 6 of 8
19-10096 - #8 File 01/28/19 Enter 01/28/19 12:24:05 Main Document Pg 7 of 8
19-10096 - #8 File 01/28/19 Enter 01/28/19 12:24:05 Main Document Pg 8 of 8
